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 7
 8                           UNITED STATES DISTRICT COURT
 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA)              CASE NO. CR08-0958-RHW
                              )
12                 Plaintiff, )             [PROPOSED] ORDER
                              )
13       vs.                  )
                              )
14   DANTE ORPILLA            )
                              )
15                 Defendant. )
     ______________________ )
16
           GOOD CAUSE APPEARING THEREFOR;
17
           IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that term and
18
     Condition 8 of the Judgment/Probation and Commitment Order issued on June 23,
19
     2010, is clarified and modified as follows:
20
           Placement in a residential re-entry center as a condition of probation is not
21
     required. Any commitment to such program is to be cancelled until the court
22
     receives a request and justification from the United States Probation Office.
23
24
25   DATED:                                 _____________________________
                                            HONORABLE ROBERT H. WHALEY
26                                          UNITED STATES DISTRICT COURT
27
28


                                                   1
     [PROPOSED] ORDER
